      Case 2:23-cv-02938-MEMF-KS Document 17 Filed 05/22/23 Page 1 of 1 Page ID #:100




                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
Clinton Brown,                                               CASE NUMBER

                                                                           2:23-cv-02938-MEMF-KSx
                                              PLAINTIFF(S)
                             v.
Steve Smead,
                                                                ORDER RE APPLICATION FOR PERMISSION
                                                                       FOR ELECTRONIC FILING
                                            DEFENDANT(S)


IT IS ORDERED that the Application for Permission for Electronic Filing by
Clinton Brown                         is hereby:

           ✔    GRANTED

          Pursuant to Local Rule 5-4.1.1, the applicant must register to use the Court's CM/ECF System within
five (5) days of being served with this order. Registration information is available at the Pro Se Litigant
E-Filing web page located on the Court's website. Upon registering, the applicant will receive a CM/ECF
login and password that will allow him/her to file non-sealed documents electronically in this case only. Any
documents being submitted under seal must be manually filed with the Clerk.


          Dated:      May 22, 2023
                                                               United States District/Magistrate Judge


                DENIED
          Comments:




          Dated:
                                                               United States District/Magistrate Judge
CV-05 Order (12/15)         ORDER RE APPLICATION FOR PERMISSION FOR ELECTRONIC CASE FILING
